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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF PUERTO RICO

 ANA MARIE DELGADO, et al.,                      )
                                                 )
                        Plaintiffs,              )
                                                 )
 v.                                              ) Docket no. 3:14-cv-1735-GZS
                                                 )
 DORADO HEALTH, INC d/b/a                        )
 MANATO MEDICAL CENTER, et al.,                  )
                                                 )
                                                 )
                        Defendants.              )


                       ORDER ON PENDING MOTIONS IN LIMINE


       In order to assist counsel in their final preparations for trial, the Court provides the

following rulings on pending pretrial motions:

       Defendant Armando Cruzado Ramos’ Motion in Limine to Exclude Irrelevant and
       Inadmissible Evidence (ECF No. 410)

       GRANTED IN PART AND DENIED IN PART WITHOUT PREJUDICE. To the extent
that this Motion raises objections to the testimony of three non-party witnesses (Maria Solivan,
Maria de los Angeles Albert & Hector Delgado Rodriguez), the Court will not permit any of these
witnesses to testify as to character traits or the personal and professional endeavors of Luis
Delgado absent a foundation that one or more of the Plaintiffs were personally aware of these traits
or endeavors. Additionally, testimony regarding economic damages sustained by a non-party
witness is subject to exclusion under F.R.E. 402 & 403. This ruling is made without prejudice to
Defendant presenting additional objections pursuant to F.R.E. 402 & 403 at trial.


       Defendant Armando Cruzado Ramos’ Motion in Limine (ECF No. 415)

       GRANTED WITHOUT OBJECTION. No party shall raise issues related to Dr. Cruzado’s
previous malpractice claims, settlements, or any active cases in front of the jury. This pretrial
ruling is made without prejudice to any party seeking to proffer outside the hearing of the jury
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regarding the relevancy and admissibility of any such evidence, at which time the Court may
reconsider this ruling.


       Plaintiffs’ Motion to Allow Plaintiffs’ Use of Photos and Demonstrative Evidence
       During Opening Statements and Trial (ECF No. 425)

       GRANTED IN PART AND DENIED IN PART. The Court will allow Plaintiffs to use the
photographs that are listed on the Joint Consolidated Exhibit List as Exhibits 23-30 during opening
argument. To the extent that Defendants have raised objections to these exhibits under F.R.E. 402
& 403, those objections are OVERRULED.
       Plaintiffs will also be allowed to use Exhibit 31 as a demonstrative exhibit during openings.
Defendants noted objections to this use of the demonstrative exhibit are OVERRULED.
       The Court will not allow Plaintiffs to display or use Exhibit 32 during opening. Plaintiffs
are free to proffer to the Court outside the hearing of the jury regarding why Exhibit 32 should be
allowed as a demonstrative exhibit during the testimony of the relevant expert witnesses.
       The Court expects that the parties will be able to use and/or display any admitted exhibit
during closing arguments. However, the Court will make a final determination of any remaining
issues related to the use of exhibits during closing arguments after the close of the evidence.
       SO ORDERED.

                                                      /s/ George Z. Singal
                                                      United States District Judge


Dated this 1st day of March, 2018.




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